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                                EXHIBIT B
                                 Footnote 1b
      “Outbreak of SARS-CoV-2 Infections, Including COVID-19 Vaccine
  Breakthrough Infections, Associated with Large Public Gatherings – Barnstable
                       County, Massachusetts, July 2021”
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            Outbreak of SARS-CoV-2 Infections, Including COVID-19 Vaccine
          Breakthrough Infections, Associated with Large Public Gatherings —
                    Barnstable County, Massachusetts, July 2021
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   On July 30, 2021, this report was posted as an MMWR Early                    Massachusetts, that attracted thousands of tourists from across
Release on the MMWR website (https://www.cdc.gov/mmwr).                         the United States. Beginning July 10, the Massachusetts
   During July 2021, 469 cases of COVID-19 associated                           Department of Public Health (MA DPH) received reports of
with multiple summer events and large public gatherings in                      an increase in COVID-19 cases among persons who reside in
a town in Barnstable County, Massachusetts, were identified                     or recently visited Barnstable County, including in fully vac-
among Massachusetts residents; vaccination coverage among                       cinated persons. Persons with COVID-19 reported attending
eligible Massachusetts residents was 69%. Approximately                         densely packed indoor and outdoor events at venues that
three quarters (346; 74%) of cases occurred in fully vac-                       included bars, restaurants, guest houses, and rental homes. On
cinated persons (those who had completed a 2-dose course                        July 3, MA DPH had reported a 14-day average COVID-19
of mRNA vaccine [Pfizer-BioNTech or Moderna] or had                             incidence of zero cases per 100,000 persons per day in residents
received a single dose of Janssen [Johnson & Johnson] vac-                      of the town in Barnstable County; by July 17, the 14-day
cine ≥14 days before exposure). Genomic sequencing of                           average incidence increased to 177 cases per 100,000 persons
specimens from 133 patients identified the B.1.617.2 (Delta)                    per day in residents of the town (2).
variant of SARS-CoV-2, the virus that causes COVID-19, in                          During July 10–26, using travel history data from the
119 (89%) and the Delta AY.3 sublineage in one (1%). Overall,                   state COVID-19 surveillance system, MA DPH identified
274 (79%) vaccinated patients with breakthrough infection                       a cluster of cases among Massachusetts residents. Additional
were symptomatic. Among five COVID-19 patients who                              cases were identified by local health jurisdictions through case
were hospitalized, four were fully vaccinated; no deaths were                   investigation. COVID-19 cases were matched with the state
reported. Real-time reverse transcription–polymerase chain                      immunization registry. A cluster-associated case was defined
reaction (RT-PCR) cycle threshold (Ct) values in specimens                      as receipt of a positive SARS-CoV-2 test (nucleic acid ampli-
from 127 vaccinated persons with breakthrough cases were                        fication or antigen) result ≤14 days after travel to or residence
similar to those from 84 persons who were unvaccinated, not                     in the town in Barnstable County since July 3. COVID-19
fully vaccinated, or whose vaccination status was unknown                       vaccine breakthrough cases were those in fully vaccinated
(median = 22.77 and 21.54, respectively). The Delta variant                     Massachusetts residents (those with documentation from the
of SARS-CoV-2 is highly transmissible (1); vaccination is the                   state immunization registry of completion of COVID-19
most important strategy to prevent severe illness and death.                    vaccination as recommended by the Advisory Committee
On July 27, CDC recommended that all persons, including                         on Immunization Practices,† ≥14 days before exposure).
those who are fully vaccinated, should wear masks in indoor                     Specimens were submitted for whole genome sequencing§
public settings in areas where COVID-19 transmission is high                    to either the Massachusetts State Public Health Laboratory
or substantial.* Findings from this investigation suggest that                  or the Broad Institute of the Massachusetts Institute of
even jurisdictions without substantial or high COVID-19                          † As of May 2021, ACIP recommended that all adults aged ≥18 years receive any
transmission might consider expanding prevention strategies,                       of the three COVID-19 vaccines available in the United States via Emergency
including masking in indoor public settings regardless of vac-                     Use Authorization from the Food and Drug Administration, including Pfizer-
cination status, given the potential risk of infection during                      BioNTech, Moderna, and Janssen; persons aged ≥12 years are eligible to receive
                                                                                   the Pfizer-BioNTech COVID-19 vaccine. Full vaccination is defined as receipt
attendance at large public gatherings that include travelers                       of 2 doses of the Pfizer-BioNTech or Moderna COVID-19 vaccines or 1 dose
from many areas with differing levels of transmission.                             of Janssen COVID-19 vaccine ≥14 days before exposure.
                                                                                 § Genomic sequencing was performed using Illumina NovaSeq using the NEB
   During July 3–17, 2021, multiple summer events and large
                                                                                   LunaScript RT ARTIC SARS-CoV-2 Kit. Novel mutations were not identified
public gatherings were held in a town in Barnstable County,                        in the spike protein of the cluster-associated genomes compared with genomes
                                                                                   collected during the same period from ongoing genomic surveillance efforts
* https://www.cdc.gov/coronavirus/2019-ncov/vaccines/fully-vaccinated.html         at Broad Institute. Raw and assembled genomic data are publicly available
                                                                                   under NCBI BioProject PRJNA715749.



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                                                                                   of whom had underlying medical conditions. Initial genomic
    Summary
                                                                                   sequencing of specimens from 133 patients identified the Delta
    What is already known about this topic?
                                                                                   variant in 119 (89%) cases and the Delta AY.3 sublineage in
    Variants of SARS-CoV-2 continue to emerge. The B.1.617.2                       one (1%) case; genomic sequencing was not successful for 13
    (Delta) variant is highly transmissible.
                                                                                   (10%) specimens.
    What is added by this report?                                                     Among the 469 cases in Massachusetts residents, 346 (74%)
    In July 2021, following multiple large public events in a                      occurred in persons who were fully vaccinated; of these,
    Barnstable County, Massachusetts, town, 469 COVID-19 cases
                                                                                   301 (87%) were male, with a median age of 42 years. Vaccine
    were identified among Massachusetts residents who had
    traveled to the town during July 3–17; 346 (74%) occurred in                   products received by persons experiencing breakthrough infec-
    fully vaccinated persons. Testing identified the Delta variant in              tions were Pfizer-BioNTech (159; 46%), Moderna (131; 38%),
    90% of specimens from 133 patients. Cycle threshold values                     and Janssen (56; 16%); among fully vaccinated persons in the
    were similar among specimens from patients who were fully                      Massachusetts general population, 56% had received Pfizer-
    vaccinated and those who were not.                                             BioNTech, 38% had received Moderna, and 7% had received
    What are the implications for public health practice?                          Janssen vaccine products. Among persons with breakthrough
    Jurisdictions might consider expanded prevention strategies,                   infection, 274 (79%) reported signs or symptoms, with the
    including universal masking in indoor public settings, particu-                most common being cough, headache, sore throat, myalgia,
    larly for large public gatherings that include travelers from
                                                                                   and fever. Among fully vaccinated symptomatic persons, the
    many areas with differing levels of SARS-CoV-2 transmission.
                                                                                   median interval from completion of ≥14 days after the final vac-
                                                                                   cine dose to symptom onset was 86 days (range = 6–178 days).
Technology and Harvard University. Ct values were obtained                         Among persons with breakthrough infection, four (1.2%) were
for 211 specimens tested using a noncommercial real-time                           hospitalized, and no deaths were reported. Real-time RT-PCR
RT-PCR panel for SARS-CoV-2 performed under Emergency                              Ct values in specimens from 127 fully vaccinated patients
Use Authorization at the Broad Institute Clinical Research                         (median = 22.77) were similar to those among 84 patients who
Sequencing Platform. On July 15, MA DPH issued the first of                        were unvaccinated, not fully vaccinated, or whose vaccination
two Epidemic Information Exchange notifications to identify                        status was unknown (median = 21.54) (Figure 2).
additional cases among residents of U.S. jurisdictions outside                        Transmission mitigation measures included broadening
Massachusetts associated with recent travel to the town in                         testing recommendations for persons with travel or close
Barnstable County during July 2021. This activity was reviewed                     contact with a cluster-associated case, irrespective of vaccina-
by CDC and was conducted consistent with applicable federal                        tion status; local recommendations for mask use in indoor
law and CDC policy.¶                                                               settings, irrespective of vaccination status; deployment of state-
   By July 26, a total of 469 COVID-19 cases were identified                       funded mobile testing and vaccination units in the town in
among Massachusetts residents; dates of positive specimen                          Barnstable County; and informational outreach to visitors and
collection ranged from July 6 through July 25 (Figure 1).                          residents. In this tourism-focused community, the Community
Most cases occurred in males (85%); median age was 40 years                        Tracing Collaborative¶¶ conducted outreach to hospitality
(range = <1–76 years). Nearly one half (199; 42%) reported                         workers, an international workforce requiring messaging in
residence in the town in Barnstable County. Overall, 346                           multiple languages.
(74%) persons with COVID-19 reported symptoms con-                                    The call from MA DPH for cases resulted in additional
sistent with COVID-19.** Five were hospitalized; as of                             reports of cases among residents of 22 other states who had
July 27, no deaths were reported. One hospitalized patient                         traveled to the town in Barnstable County during July 3–17,
(age range = 50–59 years) was not vaccinated and had multiple                      as well as reports of secondary transmission; further analyses
underlying medical conditions.†† Four additional, fully vac-                       are ongoing. As of July 3, estimated COVID-19 vaccination
cinated patients§§ aged 20–70 years were also hospitalized, two                    coverage among the eligible population in Massachusetts
¶  45 C.F.R. part 46, 21 C.F.R. part 56; 42 U.S.C. Sect.241(d); 5 U.S.C.
                                                                                   was 69% (3). Further investigations and characterization of
   Sect.552a; 44 U.S.C. Sect.3501 et seq.                                          breakthrough infections and vaccine effectiveness among this
** COVID-like symptoms were based on the Council of State and Territorial          highly vaccinated population are ongoing.
   Epidemiologists surveillance case definition for COVID-19. https://ndc.
   services.cdc.gov/case-definitions/coronavirus-disease-2019-2020-08-05/          ¶¶
†† https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-             The Community Tracing Collaborative is a multiorganization
                                                                                        partnership that has supported COVID contact tracing and outbreak
   with-medical-conditions.html
§§ One vaccinated, hospitalized COVID-19 patient had received the Pfizer-               investigation in Massachusetts. https://www.mass.gov/info-details/
                                                                                        learn-about-the-community-tracing-collaborative
   BioNTech vaccine and three had received the Janssen vaccine.




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FIGURE 1. SARS-CoV-2 infections (N = 469) associated with large public gatherings, by date of specimen collection and vaccination status* —
Barnstable County, Massachusetts, July 2021
                70
                           Fully vaccinated
                           Unvaccinated, not fully vaccinated,
                60         or vaccination status unknown



                50                            Multiple events and large public gatherings



                40
 No. of cases




                                                      Increase in COVID-19 cases
                                                         reported to MA DPH
                30



                20



                10



                 0
                       3      4     5     6      7     8     9    10    11   12    13       14   15     16   17   18    19   20   21   22   23    24     25   26   27
                                                                               Specimen collection date, July
Abbreviation: MA DPH = Massachusetts Department of Public Health.
* Fully vaccinated was defined as ≥14 days after completion of state immunization registry–documented COVID-19 vaccination as recommended by the Advisory
  Committee on Immunization Practices.

                                         Discussion                                              MA DPH, CDC, and affected jurisdictions are collaborat-
   The SARS-CoV-2 Delta variant is highly transmissible (1), and                                 ing in this response; MA DPH is conducting additional case
understanding determinants of transmission, including human                                      investigations, obtaining samples for genomic sequencing, and
behavior and vaccine effectiveness, is critical to developing pre-                               linking case information with laboratory data and vaccination
vention strategies. Multipronged prevention strategies are needed                                history. Finally, Ct values obtained with SARS-CoV-2 qualita-
to reduce COVID-19–related morbidity and mortality (4).                                          tive RT-PCR diagnostic tests might provide a crude correla-
   The findings in this report are subject to at least four limita-                              tion to the amount of virus present in a sample and can also
tions. First, data from this report are insufficient to draw con-                                be affected by factors other than viral load.††† Although the
clusions about the effectiveness of COVID-19 vaccines against                                    assay used in this investigation was not validated to provide
SARS-CoV-2, including the Delta variant, during this outbreak.                                   quantitative results, there was no significant difference between
As population-level vaccination coverage increases, vaccinated per-                              the Ct values of samples collected from breakthrough cases and
sons are likely to represent a larger proportion of COVID-19 cases.                              the other cases. This might mean that the viral load of vac-
Second, asymptomatic breakthrough infections might be under-                                     cinated and unvaccinated persons infected with SARS-CoV-2
represented because of detection bias. Third, demographics of cases                              is also similar. However, microbiological studies are required
likely reflect those of attendees at the public gatherings, as events                            to confirm these findings.
were marketed to adult male participants; further study is under-                                   Event organizers and local health jurisdictions should con-
way to identify other population characteristics among cases, such                               tinually assess the need for additional measures, including
as additional demographic characteristics and underlying health                                  limiting capacity at gatherings or event postponement, based
conditions including immunocompromising conditions.***                                           on current rates of COVID-19 transmission, population vacci-
                                                                                                 nation coverage, and other factors.§§§ On July 27, CDC released
*** A preliminary analysis matching cluster-associated COVID-19 cases with
    the state HIV case surveillance data identified 30 (6%) cases with verified                  †††   https://www.cdc.gov/coronavirus/2019-ncov/lab/faqs.html
    HIV infection; all were virally suppressed, and none were hospitalized as a                  §§§   https://www.cdc.gov/coronavirus/2019-ncov/community/large-events/
    result of infection with SARS-CoV-2.                                                               considerations-for-events-gatherings.html



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recommendations that all persons, including those who are                                consider expanding prevention strategies, including masking
fully vaccinated, should wear masks in indoor public settings                            in indoor public settings regardless of vaccination status, given
in areas where COVID-19 transmission is high or substantial.                             the potential risk of infection during attendance at large public
Findings from this investigation suggest that even jurisdictions                         gatherings that include travelers from many areas with differing
without substantial or high COVID-19 transmission might                                  levels of transmission.

FIGURE 2. SARS-CoV-2 real-time reverse transcription–polymerase                                                   Acknowledgments
chain reaction cycle threshold values* for specimens from patients
                                                                                           Hanna Shephard, Geena Chiumento, Nicole Medina, Juliana
with infections associated with large public gatherings, by
vaccination status† — Barnstable County, Massachusetts, July 2021§                       Jacoboski, Julie Coco, Andrew Lang, Matthew Doucette, Sandra
                                                                                         Smole, Patricia Kludt, Natalie Morgenstern, Kevin Cranston,
           50
                                                                                         Ryan J. Burke, Massachusetts Department of Public Health; Sean
                                                                                         O’Brien, Theresa Covell, Barnstable County Department of Health
           45                                                                            and the Environment; Marguerite M. Clougherty, John C. Welch,
                                                                                         Community Tracing Collaborative; Jacob Lemieux, Christine Loreth,
                                                                                         Stephen Schaffner, Chris Tomkins-Tinch, Lydia Krasilnikova,
           40
                                                                                         Pardis Sabeti, Broad Institute; Sari Sanchez, Boston Public Health
                                                                                         Commission; Mark Anderson, Vance Brown, Ben Brumfield, Anna
           35                                                                            Llewellyn, Jessica Ricaldi, Julie Villanueva, CDC COVID-19
                                                                                         Response Team.
           30                                                                             Corresponding author: Catherine Brown, catherine.brown@mass.gov.
                                                                                          1Massachusetts Department of Public Health; 2CDC COVID-19 Response
Ct value




           25                                                                             Team; 3Broad Institute, Cambridge, Massachusetts; 4Barnstable County
                                                                                          Department of Health and the Environment, Massachusetts; 5Community
                                                                                          Tracing Collaborative, Commonwealth of Massachusetts.
           20                                                                              All authors have completed and submitted the International
                                                                                         Committee of Medical Journal Editors form for disclosure of
           15                                                                            potential conflicts of interest. Stacey B. Gabriel reports receiving
                                                                                         grants from CDC. Bronwyn MacInnis, Katherine Siddle, and Daniel
                                                                                         Park report receiving grants from CDC and the National Institutes
           10
                                                                                         of Health. Taylor Brock-Fisher reports receiving a grant from the
                                                                                         Community Tracing Collaborative. No other potential conflicts of
            5                                                                            interest were disclosed.

                                                                                                                       References
            0
                       Unvaccinated,                 Fully vaccinated                    1. CDC. COVID-19: SARS-CoV-2 variant classifications and definitions.
                                                                                            Atlanta, GA: US Department of Health and Human Services, CDC;
                  not fully vaccinated, or               (n = 127)
                                                                                            2021. Accessed July 25, 2021. https://www.cdc.gov/coronavirus/2019-
                vaccination status unknown                                                  ncov/cases-updates/variant-surveillance/variant-info.html
                           (n = 84)                                                      2. Massachusetts Department of Public Health. COVID-19 response
                              Patient vaccination status                                    reporting. Boston, MA: Massachusetts Department of Public Health;
                                                                                            2021. Accessed July 25, 2021. https://www.mass.gov/info-details/
Abbreviations: Ct = cycle threshold; RT-PCR = reverse transcription–polymerase              covid-19-response-reporting
chain reaction.                                                                          3. Massachusetts Department of Public Health. Massachusetts COVID-19
* Specimens were analyzed using a noncommercial real-time RT-PCR panel for                  vaccination data and updates. Boston, MA: Massachusetts Department
  SARS-CoV-2 performed under Emergency Use Authorization at the Clinical                    of Public Health; 2021. Accessed July 25, 2021. https://www.mass.gov/
  Research Sequencing Platform, Broad Institute of the Massachusetts Institute              info-details/massachusetts-covid-19-vaccination-data-and-updates#daily-
  of Technology and Harvard University.                                                     covid-19-vaccine-report-
† Fully vaccinated was defined as ≥14 days after completion of state
                                                                                         4. Christie A, Brooks JT, Hicks LA, Sauber-Schatz EK, Yoder JS, Honein MA.
  immunization registry–documented COVID-19 vaccination as recommended
  by the Advisory Committee on Immunization Practices.                                      Guidance for implementing COVID-19 prevention strategies in the
§ Whiskers represent minimum and maximum observations; top of box represents                context of varying community transmission levels and vaccination
  the third quartile (Q3), bottom represents the first quartile (Q1), and box height        coverage. MMWR Morb Mortal Wkly Rep 2021;70:1044–7. https://doi.
  represents the interquartile range. Midline is the median; “x” is the mean.               org/10.15585/mmwr.mm7030e2




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